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                                  CERTIFICATE OF SERVICE

               I, Tori L. Remington, hereby certify that on March 6, 2024, I caused the foregoing

Certificate of No Objection Regarding Second Interim Fee Application of Huron Consulting Group

Inc., Financial Advisor to the Official Committee of Unsecured Creditors for Allowance of

Compensation for Services Rendered and Reimbursement of Expenses for the Period October 1,

2023 Through December 31, 2023 (the “CNO”) to be served upon the parties set forth on the

attached service list in the manner indicated. I further certify that all ECF participants registered in

these cases were served electronically on March 6, 2024 with the CNO through the Court’s ECF

system at their respective email addresses registered with the Court.



                                                       /s/ Tori L. Remington
                                                       Tori L. Remington (DE No. 6901)
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